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   1   Richard J. Grabowski (State Bar No. 125666)
       Ryan D. Ball (State Bar No. 321772)
   2   JONES DAY
       3161 Michelson Drive, Suite 800
   3   Irvine, CA 92612.4408
   4   Telephone: 949.851.3939
       Facsimile: 949.553.7539
   5   Email: rgrabowski@jonesday.com
       Email: rball@jonesday.com
   6
       Attorneys for Defendant
   7   EXPERIAN INFORMATION
       SOLUTIONS, INC.
   8
   9                         UNITED STATES DISTRICT COURT
  10                        CENTRAL DISTRICT OF CALIFORNIA
  11
  12   BRYCE ABBINK, individually and on          Case No. 8:19-cv-01257-JFW-PJWx
  13   behalf of all others similarly situated,
                                                  Hon. John F. Walter
  14                   Plaintiff,
                                                  DEFENDANT EXPERIAN
  15         v.                                   INFORMATION SOLUTIONS,
                                                  INC.’S OPPOSITION TO
  16   EXPERIAN INFORMATION                       PLAINTIFF’S MOTION TO
       SOLUTIONS, INC., et al.,                   RECONSIDER ORDER
  17                   Defendant.                 GRANTING MOTION TO
                                                  DISMISS
  18
                                                  Date:         February 3, 2020
  19                                              Time:         1:30 p.m.
                                                  Location:     7A
  20
  21                                              Complaint Filed: June 21, 2019
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                                                       OPPOSITION TO MOTION TO RECONSIDER ORDER
                                                                     GRANTING MOTION TO DISMISS
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   1                                    INTRODUCTION
   2         This Court properly granted Defendant Experian Information Solutions, Inc.’s
   3   (“Experian”) motion to dismiss Plaintiff Bryce Abbink’s (“Plaintiff”) complaint
   4   against Experian with prejudice. As the Court properly found, Plaintiff cannot
   5   plausibly state a claim that Experian willfully violated the Fair Credit Reporting Act
   6   (“FCRA”) by furnishing Plaintiff’s credit information to Lend Tech Loans, Inc.
   7   (“Lend Tech”), and leave to amend would be futile.
   8         In a last-ditch effort to save at least some of his fatally flawed claims, Plaintiff
   9   seeks reconsideration on the basis that the Court committed clear error in denying
  10   him leave to amend. Yet Plaintiff does not, and cannot, provide any valid reason for
  11   reconsideration. Instead, his motion consists entirely of arguments he previously
  12   made—or which he has no excuse for failing to make—in opposing Experian’s
  13   motion to dismiss. This is improper under clear Ninth Circuit precedent and prior
  14   decisions from this Court. And, even if Plaintiff’s arguments were permissible, they
  15   fall far short of demonstrating clear error. The Court should therefore deny Plaintiff’s
  16   motion and award Experian its fees and costs for having to defend against this
  17   improper motion.
  18                                     BACKGROUND
  19         Plaintiff commenced this action on June 21, 2019, alleging that Experian
  20   willfully violated Sections 1681b(c)(1) and 1681e(a) of the FCRA by permitting one
  21   of its subscribers, Lend Tech, to obtain Plaintiff’s student loan information. (See
  22   ECF No. 1.) Plaintiff claimed that, while Lend Tech held itself out as a mortgage
  23   refinance company and certified that it intended to issue firm offers of credit, it
  24   actually impermissibly resold Plaintiff’s student loan information to another
  25   company, Unified Document Services, LLC (“UDS”). (Id., ¶¶ 7, 10, 48-59.)
  26   Plaintiff, however, did not (and still does not) allege that Experian had any
  27   interactions with UDS, or that it had any knowledge that Lend Tech resold Plaintiff’s
  28   credit information to UDS.
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   1         Experian moved to dismiss Plaintiff’s complaint on August 14, 2019, arguing
   2   that Plaintiff failed to plausibly allege that Experian willfully violated the FCRA.
   3   (See ECF No. 25-1.) As to Plaintiff’s first cause of action—the one at issue here—
   4   Experian argued that it did not violate Section 1681b because it had reason to believe,
   5   in light of Plaintiff’s own allegations, that Lend Tech possessed a permissible
   6   purpose to obtain Plaintiff’s prescreen report “based on Lend Tech’s ‘representation
   7   that it intended to use [the] report for the purpose of a firm offer of credit.” (Id. at 11
   8   (citing ECF No. 1, ¶ 48).) Experian further argued that Plaintiff failed to allege a
   9   violation of Section 1681e(a) because his purported “red flags” were nothing of the
  10   sort, and that Plaintiff failed “to identify a single process or procedure Experian
  11   lacked, or failed to follow, in evaluating whether Lend Tech had a permissible
  12   purpose.” (Id. at 13.) Lastly, Experian argued that, even if Plaintiff could somehow
  13   establish a violation, he could not show that Experian’s conduct was willful, as
  14   Plaintiff did not (and could not) allege that Experian knew or had any indication that
  15   “Lend Tech was not using the prescreen reports for their intended purpose.” (Id. at
  16   15.) For these three reasons, Experian moved to dismiss Plaintiff’s first cause of
  17   action without leave to amend.
  18         Plaintiff filed his opposition on August 26, 2019, relying principally on the
  19   Ninth Circuit’s decision in Pintos v. Pacific Creditors Ass’n, 605 F.3d 665 (9th Cir.
  20   2010). (See ECF No. 34 at 8-14.) Specifically, Plaintiff argued that “Experian cannot
  21   rely solely on Lend Tech’s representation that it would use the reports for the
  22   permissible purpose of making firms offers of credit.” (Id. at 13.) But, as Experian
  23   pointed out on reply, Plaintiff made no attempt to explain how Experian violated
  24   Section 1681b(c). Nor did he identify a single process Experian failed to implement
  25   in verifying Lend Tech’s identity. Instead, Plaintiff premised his claim solely on
  26   Lend Tech’s ultimate use of the report—i.e., its sale of Plaintiff’s student loan
  27   information to UDS. (ECF No. 37 at 9.) This, Experian explained, did not establish
  28   a violation of Section 1681b(c), because the fact that “Lend Tech may have ultimately
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   1   used Plaintiff’s report for an impermissible purpose does not mean that Experian
   2   violated § 1681b.” (Id. (citing Harris v. Data Mgmt. & Mktg., Inc., 609 F. Supp. 2d
   3   509, 514 (D. Md. 2009).)
   4         On September 20, 2019, the Court granted Experian’s motion in its entirety.
   5   (See ECF No. 52.) As to Plaintiff’s first cause of action, the Court agreed that it
   6   failed for three independent reasons: (1) “Plaintiff admits that Experian had ‘reason
   7   to believe’ that it was furnishing Plaintiff’s consumer report in accordance with
   8   Section 1681b(c)(1);” (2) “Plaintiff fails to identity a single process or procedure
   9   Experian lacked or failed to follow in evaluating whether Lend Tech had a
  10   permissible purpose;” and (3) “Plaintiff’s Complaint is devoid of any factual
  11   allegations concerning Experian’s state of mind or its knowledge that Lend Tech was
  12   not using the prescreen reports for their intended purpose,” thereby defeating his
  13   claim for willfulness. (Id. at 4-5.) The Court further found that Plaintiff could not
  14   allege any facts that would cure these material defects, and therefore denied him leave
  15   to amend. (Id. at 6.)
  16         Plaintiff filed the instant motion on January 2, 2020, arguing that the Court
  17   committed clear error in denying him leave to amend his claims arising from
  18   Experian’s alleged failure to adequately verify Lend Tech’s permissible purpose. 1
  19   (ECF No. 61.) As in his opposition, Plaintiff’s motion principally relies on Pintos to
  20   argue that he has validly stated a claim and that this Court committed clear error in
  21   concluding otherwise.
  22                                       STANDARD
  23         The Ninth Circuit has made clear that reconsideration is an “extraordinary
  24   remedy, to be used sparingly in the interests of finality and conservation of judicial
  25   resources.” Carroll v. Nakatani, 342 F.3d 934, 945 (9th Cir. 2003). “[A] motion for
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  27         1
               Plaintiff does not challenge the portion of the Court’s order dismissing his
       second cause of action with prejudice, which related to Experian’s alleged disclosure
  28   of Plaintiff’s total student loan debt to Lend Tech.
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   1   reconsideration should not be granted, absent highly unusual circumstances, unless
   2   the district court is presented with newly discovered evidence, committed clear error,
   3   or if there is an intervening change in the controlling law.” 389 Orange Street
   4   Partners v. Arnold, 179 F.3d 656, 665 (9th Cir. 1999). As this Court has recognized,
   5   “[m]otions for reconsideration ‘are disfavored and are rarely granted.’” Collins v.
   6   U.S. Citizenship & Naturalization Serv., No. 11-cv-9909-JFW-SSX, 2013 WL
   7   776244, at *1 (C.D. Cal. Feb. 6, 2013) (quoting Trust Corp. v. Aetna Casualty and
   8   Surety Co., 873 F. Supp. 1386, 1393 (D. Ariz. 1994)).
   9         Importantly, reconsideration “may not be used to raise arguments or present
  10   evidence for the first time when they could reasonably have been raised earlier in the
  11   litigation.” Carroll, 342 F.3d at 945; see also Collins, 2013 WL 776244, at *1
  12   (“Reargument should not be used as a means to argue new facts or issues that
  13   inexcusably were not presented to the court in the matter previously decided.”)
  14   (citation omitted). Nor should a motion for reconsideration “in any manner repeat
  15   any oral or written argument made in support of or in opposition to the original
  16   motion.” Ito v. Tokio Marine & Fire Ins. Co., Ltd., No. 03-cv-6835-JFW, 2007 WL
  17   9735845, at *1 (C.D. Cal. Feb. 21, 2007) (citing Local Rule 7-18). And, “motions
  18   for reconsideration ‘are not to be used to test new legal theories that could have been
  19   presented when the original motion was pending.’” Collins, 2013 WL 776244, at *1
  20   (quoting FDIC v. Jackson–Shaw Partners No. 46, Ltd., 850 F. Supp. 839, 845 (N.D.
  21   Cal. 1994)).
  22         Under Local Rule 7-3, “[a] motion for reconsideration of the decision on any
  23   motion may be made only on the grounds of (a) a material difference in fact or law
  24   from that presented to the Court before such decision that in the exercise of
  25   reasonable diligence could not have been known to the party moving for
  26   reconsideration at the time of such decision, or (b) the emergence of new material
  27   facts or a change of law occurring after the time of such decision, or (c) a manifest
  28   showing of failure to consider material facts presented to the Court before such
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   1   decision.” L.R. 7-18. Violation of this rule can result in an award of attorneys’ fees
   2   and costs incurred in opposing the motion. See Figueroa v. Gates, No. 00-cv-4158,
   3   2002 WL 31572968, at *3 (C.D. Cal. Nov. 15, 2002) (citing L.R. 83-7).
   4                                       ARGUMENT
   5         Plaintiff’s motion either repeats arguments previously raised in his opposition
   6   or raises points that could have been raised in that briefing. As such, his motion
   7   should be summarily denied. See Carroll, 342 F.3d at 945; Collins, 2013 WL
   8   776244, at *1; Reddy v. Gilbert Med. Transcription Serv., Inc., No. 10-cv-524-JFW-
   9   DTBX, 2010 WL 11509095, at *1 (C.D. Cal. June 11, 2010). And, even if Plaintiff
  10   had a valid basis to raise his arguments (he does not), Plaintiff fails to establish that
  11   this Court committed clear error. In any event, Plaintiff’s unsupported theories and
  12   baseless accusations do not establish that Experian acted willfully. Accordingly, this
  13   Court should deny Plaintiff’s motion and award Experian its fees and costs for having
  14   to defend against it.
  15   I.    Plaintiff’s Motion Is Improper
  16           Plaintiff makes two primary arguments in support of his claim that this Court
  17   committed clear error in dismissing his first cause of action with prejudice. First, he
  18   claims that the Court’s ruling conflicts with the Ninth Circuit’s decision in Pintos,
  19   605 F.3d 665, arguing that Pintos permits a court to hold a CRA liable under the
  20   FCRA based purely on a subscriber’s violation of the statute. Second, he argues that
  21   he can allege additional facts plausibly establishing Experian’s willful violation of
  22   the FCRA. Because these are the same arguments Plaintiff made—or could have
  23   made—in opposing Experian’s motion to dismiss, his motion must be denied.
  24         Indeed, Pintos was the key authority Plaintiff relied upon in his opposition.
  25   (See ECF No. 34 at 12-14.) Contrary to his assertions, Experian has consistently
  26   maintained that a CRA cannot be held liable for a violation of the FCRA based purely
  27   on a subscriber’s violation. (ECF No. 25-1 at 6-7.) In response, Plaintiff solely relied
  28   on Pintos, citing to the very same page of the case on which he now seeks to rely.
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    1   (Compare ECF No. 34 at 12-14; with ECF No. 61 at 11-12.) Plaintiff thus had ample
    2   opportunity to make any and all arguments under Pintos in his earlier briefing.
    3   Repeating arguments and raising new, but previously available, arguments in a
    4   motion for reconsideration is improper. See Reddy, 2010 WL 11509095, at *1.
    5         Plaintiff’s argument that he can allege additional facts permitting him to state
    6   a claim similarly fails. These additional facts merely repackage facts Plaintiff already
    7   pled in his complaint and argued in his opposition. And, even where Plaintiff does
    8   identify new facts, he offers no explanation for his failure to bring them to the Court’s
    9   attention in his opposition.
   10         First, Plaintiff claims he can allege additional facts plausibly showing that
   11   Experian’s verification of Lend Tech was deficient because Experian permitted Lend
   12   Tech to obtain credit information for consumers in Colorado without confirming that
   13   Lend Tech possessed a license to conduct mortgage-related activities in Colorado as
   14   well as in California. But Plaintiff already made essentially the same allegations in
   15   his complaint, and thus they were before the Court in the briefing on Experian’s
   16   motion to dismiss. Specifically, Plaintiff alleged that he is a Colorado resident, that
   17   Lend Tech obtained his credit information from Experian, and that a review of the
   18   “National Multistate Licensing System (‘NMLS’)” would have revealed that Lend
   19   Tech did “not possess any license whatsoever to engage in mortgage lending.” (ECF
   20   No. 1, ¶¶ 7, 16, 27.)
   21         Second, Plaintiff claims he can allege additional facts plausibly showing that
   22   Experian should have known Lend Tech was obtaining information outside the
   23   bounds of its approved permissible purpose when it requested information regarding
   24   consumers’ student loans, rather than only their home loans. This allegation, too, is
   25   already in Plaintiff’s complaint, and thus was already considered and rejected by the
   26   Court. (ECF No. 1, ¶¶ 9-11.)
   27         Finally, Plaintiff claims he can allege additional facts plausibly showing that
   28   Experian’s initial review of Lend Tech in June 2017 was flawed, apparently because
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    1   Experian gave Lend Tech an opportunity to submit additional documentation after
    2   Experian deemed its initial submission insufficient. But, again, the Court already
    3   considered and rejected Plaintiff’s “red flags” theory. Moreover, Plaintiff fails to
    4   explain how this conduct runs contrary to Experian’s obligation “to verify the identity
    5   of a new prospective user and the uses certified by such prospective user.” 15 U.S.C.
    6   § 1681e(a). If anything, it only underscores Experian’s diligence and confirms its
    7   adherence to its duties under the FCRA.
    8         Simply put, Plaintiff’s motion merely restates arguments the Court previously
    9   considered and rejected, see Ito, 2007 WL 9735845, at *1, or makes new arguments
   10   that he could and should have raised before. See Carroll, 342 F.3d at 945; Collins,
   11   2013 WL 776244, at *1. His motion is therefore improper and should be denied.
   12   II.   Plaintiff Does Not Establish Clear Error
   13         Even if Plaintiff’s motion did more than simply repeat points made in his
   14   opposition, or raise new arguments that could (and should) have been brought
   15   previously (which it does not), his motion does not support his claim that this Court
   16   committed clear error. Plaintiff fundamentally misunderstands Pintos, and the
   17   purportedly new facts he identifies do not establish that Experian failed to maintain
   18   reasonable procedures “to verify the identity of a new prospective user and the uses
   19   certified by such prospective user prior to furnishing such user a consumer report,”
   20   15 U.S.C. § 1681e(a), much less that Experian acted willfully.
   21         A.     Pintos Does Not Support Plaintiff’s Arguments.
   22         In Pintos, the Ninth Circuit considered whether a collection agency, PCA, had
   23   a permissible purpose to pull the plaintiff’s consumer report after the plaintiff’s car
   24   had been towed and the debt transferred to PCA. 605 F.3d at 673. The Ninth Circuit
   25   answered in the negative, reasoning that the plaintiff “did not initiate the transaction
   26   that resulted in PCA requesting her credit report.” Id. at 675. As a result, the Court
   27   concluded that “§ 1681b(a)(3)(A) did not authorize PCA to obtain the credit report
   28   on” the plaintiff because Plaintiff never initiated any transaction. Id. at 676. In other
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    1   words, the basis upon which PCA certified its purpose did not constitute a permissible
    2   purpose under Section 1681b. Thus, Experian did not have a reason to believe that
    3   PCA had a permissible purpose when it requested the plaintiff’s consumer report in
    4   a transaction not initiated by the plaintiff. 2
    5          In contrast to Pintos, Experian had a reason to believe that Lend Tech had a
    6   permissible purpose under Section 1681b(c). That section “permits a consumer
    7   reporting agency to furnish a creditor with a consumer report in connection with a
    8   credit transaction not initiated by the consumer if ‘the transaction consists of a firm
    9   offer of credit.’” Kennedy v. Chase Manhattan Bank USA, NA, 369 F.3d 833, 839
   10   (5th Cir. 2004) (quoting 15 U.S.C. § 1681b(c)(1)(B)(i)). As the Court properly
   11   recognized, “Experian furnished Plaintiff’s consumer report to Lend Tech based on
   12   Lend Tech’s ‘representation that it intended to use [the] report for the purpose of a
   13   firm offer of credit.’” (ECF No. 56 at 4 (citing ECF No. 1, ¶ 48).) Consequently,
   14   “Experian had ‘reason to believe’ that it was furnishing Plaintiff’s consumer report
   15   in accordance with Section 1681b(c)(1).” (Id. (citing Henderson v. Corelogic Nat’l
   16   Background Data, LLC, 161 F. Supp. 3d 389, 397 n.7 (E.D. Va. 2016) (“[T]o show
   17   that a report was ‘furnished’ for a permissible purpose . . . a CRA need only show
   18   that it had ‘reason to believe’ that the report would be used for that purpose, and
   19   obtained appropriate certifications from its customers that the report would be used
   20   only for that purpose.” (collecting authority)).)
   21          As Experian explained in its briefing, Plaintiff “conflates the purpose for
   22   which a report is furnished and the purpose for which it is used.” Henderson, 161 F.
   23   Supp. 3d at 397 n.7. “Decisional law interpreting § 1681(b), which imposes liability
   24   on CRAs who furnish reports for ‘impermissible purposes,’ demonstrates this
   25   distinction: to show that a report was ‘furnished’. . . a CRA need only show that it
   26
               2
                 Notably, the court in Pintos expressly refused to “opine on the meaning or
   27   scope of [Section] 1681b(c) or on the practice of obtaining information from credit
        reporting agencies to permit the extension of offers to prescreened customers,” which
   28   is the provision at issue here. Id. at 676 n.2.
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    1   had ‘reason to believe’ that the report would be used for that purpose, and obtained
    2   appropriate certifications from its customers that the report would be used only for
    3   that purpose.” Id. (collecting authority). By Plaintiff’s own allegations, that is
    4   precisely what Experian did here. That Lend Tech may have ultimately used
    5   Plaintiff’s report for an impermissible purpose does not mean that Experian violated
    6   Section 1681b. See id. (finding that whether a permissible purpose exists does not
    7   turn “on the ‘use’ of the reports”); see also Harris, 609 F. Supp. 2d at 514 (“[Plaintiff]
    8   argues that [CRA] violated Section 1681b by selling information from [plaintiff’s]
    9   consumer report to NameSeeker, which NameSeeker did not use for transactions
   10   involving firm offers of credit. However, NameSeeker’s ultimate use of [plaintiff’s]
   11   information is not determinative of [CRA’s] liability under the statute.”); Baker v.
   12   Trans Union LLC, No. 10-cv-8038, 2010 WL 2104622, at *3 (D. Ariz. May 25, 2010)
   13   (“By alleging that TU Interactive is a reseller of credit information, Baker has pled
   14   herself out of a § 1681b claim arising from Trans Union's release of her information
   15   to TU Interactive” because the FCRA permits the transmission of consumer reports
   16   to resellers, and thus Trans Union had a “reason to believe” that a permissible purpose
   17   existed.).
   18          Unlike Pintos, the purpose for which Lend Tech certified its use was
   19   permissible; Lend Tech’s ultimate use of the report was not. 3 Because Lend Tech
   20   certified that it intended to issue firm offers of credit (and Experian had no indication
   21   otherwise), Experian had reason to believe that it was furnishing the report in
   22   accordance with Section 1681b(c). Nothing in Pintos suggests that a CRA with
   23   “reason to believe” that it was furnishing a consumer’s report in accordance with
   24
               3
                 It is unclear whether Lend Tech even violated Section 1681b(c). Plaintiff
   25   bases his claim on Lend Tech’s purported misuse of his consumer report. But this
        would constitute a violation of Section 1681b(f), which prohibits an entity from using
   26   a report in a manner inconsistent with the purpose it certified. 15 U.S.C. § 1681b(f).
        Unlike Pintos, there is no dispute that Lend Tech certified that it intended to issue
   27   firms offers of credit, which is unquestionably a permissible purpose under Section
        1681b(c). Cf. Baker, 2010 WL 2104622, at *7 (“If TU’s purpose for releasing the
   28   information was permissible, so was TU Interactive’s purpose in obtaining it.”).
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    1   § 1681b(c)(1) can nevertheless be held liable under the FCRA merely because the
    2   subscriber deceived a CRA. Because Plaintiff fails to allege that Experian had any
    3   indication that Lend Tech was reselling Plaintiff’s consumer report to UDS, he fails
    4   to plausibly allege that Experian violated § 1681(b)(c)(1). This alone dooms
    5   Plaintiff’s claim. See, e.g., Baker, 2010 WL 2104622, at *4 (“Baker has incurably
    6   failed to state a claim against Trans Union under § 1681b. Therefore, her § 1681e(a)
    7   claim will similarly be dismissed without leave to amend.”).
    8         B.       Any Amendment Would Be Futile
    9         Even if the Court finds that Plaintiff can state a claim under Section 1681b (he
   10   cannot), Plaintiff’s additional facts do not establish that Experian willfully violated
   11   its obligations under Section 1681e(a).
   12         First, Plaintiff purports—for the first time—to redefine his proposed class to
   13   include only Colorado consumers. (ECF No. 61 at 10-11.) Plaintiff apparently
   14   believes that adjusting his class from consumers in all states to consumers in just
   15   Colorado, combined with his allegation that Lend Tech was not licensed in Colorado,
   16   merits permitting him leave to amend. But, as Plaintiff concedes, Lend Tech is a
   17   California corporation with its principal place of business in California. (See, e.g. id.
   18   at 3.) And, as this Court correctly found, “the California Department of Real Estate’s
   19   website indicates that Lend Tech had obtained a corporate broker’s license on August
   20   11, 2017,” which permitted it to “‘perform services for both lenders and borrowers
   21   in connection with loans secured by liens on real property.’” (ECF No. 52 at 4-5
   22   (quoting Bock v. Cal. Capital Loans, Inc., 216 Cal. App. 4th 264, 269 (2013)).)
   23   Plaintiff offers no authority to suggest that a California real estate broker must obtain
   24   a license in every state in which it arranges loans, particularly where, as here, it was
   25   arranging loans for a California lender. His baseless conjecture to the contrary should
   26   be rejected.
   27         Second, Plaintiff attempts to resurrect his argument that Experian implements
   28   a “set it and forget it” verification process. Plaintiff claims that Experian should have
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    1   recognized that Lend Tech was seeking information inconsistent with its stated
    2   purpose of offering mortgage refinancing when it requested consumers’ student loan
    3   information. (ECF No. 61 at 12-13.) But again, Plaintiff already made these
    4   allegations in his complaint, and the Court already rejected them. (ECF No., ¶¶ 9-11
    5   (alleging that Experian provided Lend Tech with Plaintiff’s consumer report, from
    6   which UDS obtained Plaintiff’s student loan information).) In any event, Experian
    7   cannot be expected to evaluate the underwriting criteria of lenders each time it
    8   furnishes a consumer report. Nor was it required to constantly monitor the
    9   information Lend Tech sought or verify Lend Tech’s permissible purpose each time
   10   it obtained prescreen credit reports. See Pietrafesa v. First Am. Real Estate Info.
   11   Servs., Inc., No. 05-cv-1450, 2007 WL 710197, at *4 (N.D.N.Y. Mar. 6, 2007) (“It
   12   would be unreasonable to require credit reporting agencies processing a high number
   13   of requests to independently investigate each and every request to determine its
   14   legitimacy.” (citing Boothe v. TRW Credit Data, 557 F. Supp. 66, 71 (S.D.N.Y.
   15   1982)). Plaintiff offers no authority to the contrary, and his attempt at imposing a
   16   strict liability standard should be rejected. See Guimond v. Trans Union Credit Info.
   17   Co., 45 F.3d 1329, 1333 (9th Cir. 1995) (“The FCRA does not impose strict
   18   liability.”).
   19          Indeed, it is just as possible that Lend Tech requested information concerning
   20   consumers’ student loans because this information is relevant to offering home
   21   mortgage refinancing, as it is that Lend Tech did so for a nefarious purpose. As a
   22   result, Plaintiff cannot establish a willful violation. See Perl v. Plains Commerce
   23   Bank, No. 11-cv-7972, 2012 WL 760401, at *2 (S.D.N.Y. Mar. 8, 2012) (dismissing
   24   claim that CRA willfully violated the FCRA, finding it “just as possible, based on
   25   the factual allegations, that [the CRA] made an innocent mistake”); Braun v. Client
   26   Servs., Inc., 14 F. Supp. 3d 391, 398 (S.D.N.Y.) (dismissing willfulness claim where
   27   “Defendant’s conduct could just as likely have been unintentional.”).
   28          Finally, Plaintiff appears to claim that Experian’s verification process was
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    1   inadequate because Experian permitted Lend Tech to resubmit its subscriber
    2   application, with additional documentation, after Experian initially found its
    3   application inadequate. Plaintiff again offers no legal authority supporting his theory.
    4   If anything, his allegations demonstrate that Experian was sufficiently vetting its
    5   subscribers—Experian found Lend Tech’s initial application inadequate and verified
    6   it as a subscriber only after Lend Tech provided new documentation. Again, a
    7   plaintiff alleging that a CRA willfully violated the FCRA must do more than allege
    8   facts that could be explained by a CRA’s honest mistake. See Perl, 2012 WL 760401,
    9   at *2; Braun, 14 F. Supp. 3d at 398. Because “there is not a single allegation that
   10   Experian had any indication that Lend Tech did not send firm offers of credit or that
   11   it was simply reselling consumers’ information to UDS,” he cannot state a willful
   12   violation. (ECF No. 52 at 5.)
   13         At bottom, Plaintiff’s new allegations miss the mark for the same reason as his
   14   original claims. Plaintiff cites no authority to support his assertions that Experian was
   15   required to verify that Lend Tech had a license to operate in Colorado, that Experian
   16   cannot permit a potential subscriber to provide additional documentation if Experian
   17   finds that its initial submission is insufficient for verification, or that Experian must
   18   constantly monitor the types of information a subscriber requests. (See ECF No. 61
   19   at 10-13.) Instead, Plaintiff offers nothing more than “generic and conclusory
   20   statements.” (ECF No. 52 at 5.) But, as this Court properly recognized, such
   21   allegations are “insufficient to state a willfulness claim under Section 1681n.” (ECF
   22   No 52 at 5 (collecting authorities).) And, as Experian explained in its briefing, a
   23   defendant does not act willfully under 15 U.S.C. § 1681n(a) unless its conduct was
   24   “objectively unreasonable” in light of “legal rules that were ‘clearly established’ at
   25   the time.” Safeco Ins. Co. v. Burr, 551 U.S. 47, 69-70 (2007) (quoting Saucier v.
   26   Katz, 533 U.S. 194, 202 (2001)).
   27         Because Plaintiff points to no legal rules violated by Experian, much less
   28   “clearly established” ones, he cannot establish a willful violation. See id.; Banga v.
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    1   Experian Info. Sols., Inc., No. 09-cv-04867, 2013 WL 5539690, at *6 (N.D. Cal.
    2   Sept. 30, 2013) (dismissing willful violation where plaintiff fails to “cite any
    3   statutory language or any guidance from the courts of appeal or the Federal Trade
    4   Commission that renders Experian's reading of the FCRA objectively
    5   unreasonable”). Accordingly, his motion should be denied in its entirety.
    6   III.   The Court Should Award Experian Its Fees And Costs
    7          Local Rules 7-18 is clear: “No motion for reconsideration shall in any manner
    8   repeat any oral or written argument made in support of or in opposition to the original
    9   motion.” L.R. 7-18 (emphasis added). Yet, as Experian pointed out during the parties’
   10   meet and confer, all of Plaintiff’s arguments were or could have been raised in
   11   opposition to Experian’s motion to dismiss. (ECF No. 60 at 2-3.)
   12          For example, most—if not all—of Plaintiff’s “additional facts” are nothing
   13   more than a restatement of what he has already pled. Plaintiff already pled that
   14   Experian permitted Lend Tech to obtain credit information for consumers residing in
   15   Colorado, including himself. (ECF No. 1, ¶¶ 9, 16, 27.) He already pled that Experian
   16   failed to verify that Lend Tech possessed a license to conduct mortgage-related
   17   activities. (Id., ¶¶ 7, 9, 52-53.) He already pled that Lend Tech obtained consumer
   18   credit information extending beyond mortgage loan data. (Id., ¶¶ 9-11, 66.) And the
   19   principal authority he relies upon is the same authority he relied upon in opposing
   20   Experian’s motion, Pintos.
   21          Consequently, Plaintiff has willfully violated this Court’s prohibition on
   22   repeating prior arguments in seeking reconsideration. Not only did Plaintiff file a
   23   motion that violates Local Rule 7-18, he did so despite Experian’s express warning
   24   that his arguments did not comply with this rule. The Court should therefore award
   25   Experian its attorneys’ fees and costs for opposing Plaintiff’s motion under Local
   26   Rule 83-7, which provides that “[t]he violation of or failure to conform to any of
   27   these Local Rules may subject the offending party or counsel to . . . the imposition
   28   of costs and attorneys’ fees to opposing counsel, if the Court finds that the conduct
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    1   rises to the level of bad faith and/or a willful disobedience of a court order.” See
    2   Figueroa, 2002 WL 31572968, at *3 (ordering defendant to pay plaintiff’s reasonable
    3   attorneys’ fees for defending against motion that failed to comply with Local Rule 7-
    4   18).
    5                                     CONCLUSION
    6          Because Plaintiff’s motion for reconsideration is devoid of any proper
    7   argument, and because Plaintiff’s arguments, even if proper, fail to establish that the
    8   Court committed clear error in dismissing his complaint against Experian with
    9   prejudice, Plaintiff’s motion should be denied. Given his blatant violation of this
   10   District’s Local Rules, the Court should award Experian its attorneys’ fees and costs
   11   for having to defend against Plaintiff’s motion.
   12
        Dated: January 13, 2020                    JONES DAY
   13
   14
                                                   By: /s/ Ryan D. Ball
   15                                                 Richard J. Grabowski
   16                                                 Ryan D. Ball
                                                      JONES DAY
   17                                                 3161 Michelson Drive, Suite 800
                                                      Irvine, CA 92612.4408
   18
                                                   Attorneys for Defendant
   19                                              Experian Information Solutions, Inc.
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